Case 4:22-cv-00521-ALM-KPJ Document 11 Filed 08/17/22 Page 1 of 2 PageID #: 101




                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

  BRIAN MCCARLEY (EXECUTOR                          §
  OF ESTATE, LIVING TRUST OF                        §
  HOMESTEAD), and                                   §
  MARY ANN MCCARLEY,                                §
                                                    §
          Plaintiffs,                               §
                                                    §
  v.                                                §    Civil Action No. 4:22-cv-521-ALM-KPJ
                                                    §
  AMERICAN ADVISORS GROUP                           §
  CELINK REVERSE MORTGAGE                           §
  FUNDING (RMF),                                    §
                                                    §
          Defendant.                                §

                                      ORDER OF DISMISSAL

         Pending before the Court is the parties’ Joint Stipulation of Dismissal Without Prejudice

 (the “Stipulation”) (Dkt. #10). In the Stipulation, the parties request dismissal of all claims

 between them without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii), with each party to bear its

 own attorney fees and costs. Id.

         Federal Rule of Civil Procedure 41(a)(1) provides that a plaintiff may voluntarily dismiss

 an action without court order in one of two ways: (1) a plaintiff may dismiss an action under Rule

 41(a)(1)(A)(i) by filing “a notice of dismissal before the opposing party serves either an answer or

 a motion for summary judgment.” FED. R. CIV. P. 41(a)(1); or (2) a plaintiff may dismiss an action

 under Rule 41(a)(1)(A)(ii) by filing “a stipulation of dismissal signed by all parties who have

 appeared.” Id. As such, formal court action is not necessary in this case. However, the Court finds

 that in the interest of efficiency, justice, and maintaining the clarity of the record, an entry of order

 of dismissal is appropriate.




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    Case 4:22-cv-00521-ALM-KPJ Document 11 Filed 08/17/22 Page 2 of 2 PageID #: 102




             Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that this entire

     action, and all claims asserted therein, is DISMISSED WITHOUT PREJUDICE, with each

.    party to bear its own costs and fees.

             All relief not previously granted is hereby DENIED, and the Clerk is directed to CLOSE

     this civil action.

             IT IS SO ORDERED.
             SIGNED this 17th day of August, 2022.




                                             ___________________________________
                                             AMOS L. MAZZANT
                                             UNITED STATES DISTRICT JUDGE




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